Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 1 of 23 PageID#
                                   10693




                     EXHIBIT B
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 2 of 23 PageID#
                                   10694
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 3 of 23 PageID#
                                   10695
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 4 of 23 PageID#
                                   10696
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 5 of 23 PageID#
                                   10697
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 6 of 23 PageID#
                                   10698
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 7 of 23 PageID#
                                   10699
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 8 of 23 PageID#
                                   10700
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 9 of 23 PageID#
                                   10701
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 10 of 23 PageID#
                                    10702
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 11 of 23 PageID#
                                    10703
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 12 of 23 PageID#
                                    10704
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 13 of 23 PageID#
                                    10705
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 14 of 23 PageID#
                                    10706
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 15 of 23 PageID#
                                    10707
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 16 of 23 PageID#
                                    10708
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 17 of 23 PageID#
                                    10709
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 18 of 23 PageID#
                                    10710
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 19 of 23 PageID#
                                    10711
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 20 of 23 PageID#
                                    10712
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 21 of 23 PageID#
                                    10713
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 22 of 23 PageID#
                                    10714
Case 3:14-cv-00852-REP-AWA-BMK Document 327-2 Filed 12/14/18 Page 23 of 23 PageID#
                                    10715
